Case 1:07-0{/1`058£©-\#\?{`1®1§@6@11&11`€11`:& DI$:IIBd(UI/OX)®MUP&Q@ 1 of 5
FOR THE DISTRICT OF MARYLAND

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(’Fall name and address of the plaintiij
Plaintiff(s) *

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(Fzzl[ name and address afthe defendam(s))
Defendant(s) ********

 

COMPLAINT

l. Jurisdiction in this case is based on:

is a resident)

WQMCNG@@?

Civil No.:

 

(Leave blank. To be]i`/led in by Courl.)

;J Diversity (none of the defendants are residents of the state where plaintiff

§§ Federal question (suit is based upon a federal Statute or provision ofthe

United States Constitution)

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